                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:09-00262
                                                   )       JUDGE CAMPBELL
TERRY KRETZ, et al.                                )

                                           ORDER

       Pending before the Court is the Government’s Motion To Dismiss Counts (Docket No.

131). Through the Motion, the Government seeks to dismiss Counts Thirteen, Fourteen and

Fifteen of the Superseding Indictment in this case. The Motion indicates that the Defendants do

not object to the request. The Motion is GRANTED.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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